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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                   NOTICE

UNITED STATES OF AMERICA                       No. 4:23-CR-00163

       v.                                      (Chief Judge Brann)

JEREMY PAULEY,

             Defendant.

______________________________________________________________________
Type of Case:
                 ( ) Civil                  (X) Criminal
_______________________________________________________________________

(XX) TAKE NOTICE that a proceeding in this case has been SCHEDULED for the
place, date and time set forth below:


U.S. Courthouse                                         Courtroom #1
Federal Building                                        Fourth Floor
240 West Third Street                                   June 27, 2023
Williamsport, PA 17701                                  at 10:00 a.m.


TYPE OF PROCEEDING: Initial Appearance / Arraignment / Guilty Plea


                                    PETER J. WELSH, CLERK


                                    s/ Janel R. Rhinehart, Deputy Clerk
                                    Janel R. Rhinehart, Deputy Clerk

Dated: June 14, 2023

TO:   Sean A. Camoni, AUSA
      Paul J. Kovatch, Esquire
      U.S. Marshal
      U.S. Probation
